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IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS
FORT WORTH DIVISION

AMERICAN AIRLINES, INC., §
§
Plaintife, §
§

VS. § NO. 4:19-CV-414-A
8
TRANSPORT WORKERS UNION OF §
AMERICA, AFL-CIO, ET AL., 8
§
Defendants. §

ORDER

After having reviewed and considered the motion to
reconsider filed by defendants on July 15, 2019, and the response
thereto of plaintiff, American Airlines, Inc., the court received
on the date of the signing of this order, the court has concluded
that defendants’ motion should be denied.

The purpose of the court’s modification of the temporary
restraining order was to seek to ensure that defendants complied
with the obligations they have under the Railway Labor Act, which
imposes on them the duty to exert every reasonable effort to end
their members’ unlawful concerted activities. Defendants have
expressed concern that if they take actions contemplated by the
modification of the temporary restraining order, they will cause
their members to take actions that could adversely affect the
safety of the traveling public. However, they have provided

nothing in support of that position that would cause the court to

 
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believe that the members of defendants do not have good enough
judgment to know when they are doing something that would
adversely affect the traveling public, as distinguished from
taking actions to resume in an appropriate manner their normal
work activities. The court is satisfied that the modifications
in the temporary restraining order are appropriate, and will help
to ensure that defendants and their members avoid any
interruption to commerce or of the operation of American
Airlines, Inc., growing out of any dispute between the carrier
and its employees. Therefore,

The court ORDERS that defendants’ motion be, and is hereby,
denied.

SIGNED July 16, 2019.

 

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